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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                    *
vs.                                              *    Case No.: 22-15 APM
THOMAS E. CALDWELL                               *
         *      *      *      *      *       *        *      *        *       *     *

                                           NOTICE

    The Defendant, Thomas E. Caldwell, by and through undersigned counsel, hereby gives
notice that he adopts and joins the following motions:

      1. ECF No. 188: Motion to Dismiss Counts 1-3 and 5 filed by Kelly Meggs.
      2. ECF No. 189: Motion to Dismiss On the Basis of Selective Prosecution filed by Kelly
         Meggs.




                                                                /s/
                                                      David W. Fischer, Esq.
                                                      Federal Bar No. 023787
                                                      Law Offices of Fischer & Putzi, P.A.
                                                      Empire Towers, Suite 300
                                                      7310 Ritchie Highway
                                                      Glen Burnie, MD 21061
                                                      (410) 787-0826
                                                      Attorney for Defendant




                                  CERTFICATE OF SERVICE
        I HEREBY CERTIFY that on this 26th day of July, 2022, a copy of the foregoing Notice
to Join Motion of Co-Defendants was electronically filed with the Clerk of the United States
District Court using CM/ECF, with a notice of said filing to the following:

Counsel for the Government:                  Office of the United States Attorney
                                             555 4th Street, NW
                                             Washington, DC 20001

                                                              /s/
                                                      David W. Fischer, Esq.
